Case 2:05-cr-20106-.]PI\/| Document 16 Filed 06/24/05 Page 1 of 3 Page|D 18

IN THE UNITED sTATEs DISTRICT cOURT -- --
FOR THE wEsTERN DIsTRIcT op TENNESSEE …l{ ._
wESTERN DIVISION §§ las 2a .~.:'1|./,l :)_

 

 

UNITED STATES OF AMERICA
Plaintiff,

V .

Mr/.Qyé,/

criminal NO. g§'_-_£QLQ@_Mi

(30-Day Continuance)

 

 

 

 

 

v\_/Vv\_/~_r~_/\_/\_/VV`_/~_/\_,V`_,V`_/V~_,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the July, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, Julv 22, 2005, with trial to take place on the
August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August l2, 2005. Agreed in open court at

report date this 24th day of June, 2005.

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SO ORDERED this 24th day of June, 2005.

WOQQ

 

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

iW/é//M '

Assistant United States Attorney

M;/

 

 

 

 

 

Counsel for Defendant(s}

   

UNITED sTATE DRISTIC COUR - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20106 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

